                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In re Dealer Management Systems Antitrust
Litigation, MDL 2817
                                                        No. 1:18-CV-864

This document relates                                   Hon. Robert M. Dow, Jr.
to: ALL ACTIONS
                                                        Magistrate Judge Jeffrey T. Gilbert


             THIRD STIPULATED AMENDED CASE MANAGEMENT ORDER

         Reserving all rights, the parties have stipulated 1 to the following proposed amended sched-

ule for the completion of expert discovery, Daubert motions, and dispositive motions.

         IT IS HEREBY ORDERED that the Second Stipulated Amended Case Management Order

(Dkt. 769), applicable to all actions consolidated in this MDL, is amended in part to reflect fol-

lowing deadlines. All other deadlines not listed below shall remain unaffected.

                               EVENT                                              DATE

    A. DISCOVERY (ALL PARTIES)

       1. Opening Merits Expert Reports                               August 26, 2019
       2. Rebuttal Merits Expert Reports                              November 15, 2019
       3. Reply Merits Expert Reports                                 December 16, 2019
       4. Deadline to Complete Expert Depositions                     January 31, 2020
    B. DAUBERT MOTIONS (ALL PARTIES)
       5. Deadline for Daubert Motions                                February 28, 2020
       6. Deadline for Responses in Opposition to any Daubert          April 1, 2020
          Motions
       7. Deadline for Replies in Support of any Daubert Motions April 24, 2020



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  The Individual and Vendor Class Plaintiffs opposed CDK Global LLC’s motion for extension of
time (Dkt. 771), and agree to this stipulation without waiving that objection.
                             EVENT                                                DATE

C. DISPOSITIVE MOTIONS (ALL PARTIES)
   8. Deadline for Dispositive Motions                                 March 13, 2020
   9. Deadline for Responses in Opposition to any Disposi-             April 29, 2020
      tive Motions
   10. Deadline for Replies in Support of any Dispositive Mo-          May 22, 2020
       tions

STIPULATED AND AGREED:



/s/ Derek T. Ho                                       /s/ Peggy J. Wedgworth
Derek T. Ho                                           Peggy J. Wedgworth
Michael N. Nemelka                                    Elizabeth McKenna
KELLOGG, HANSEN, TODD,                                MILBERG PHILLIPS GROSSMAN LLP
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Counsel for Authenticom, Inc.; Loop, LLC,             Interim Lead Counsel for the Dealership
d/b/a AutoLoop on behalf of itself and all oth-       Plaintiffs
ers similarly situated; and Motor Vehicle
Software Corp.




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/s/ Britt M. Miller                          /s/ Aundrea K. Gulley
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Matthew D. Provance                          Brian T. Ross
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Counsel for Defendants CDK Global, LLC       Counsel for Defendant The Reynolds and Reyn-
and Computerized Vehicle Registration        olds Company




                                              SO ORDERED:



 DATED: 10/24/2019                            ____________________________________
                                              Hon. Robert M. Dow, Jr
                                              UNITED STATES DISTRICT COURT JUDGE




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                                 CERTIFICATE OF SERVICE

        I, Britt M. Miller, an attorney, hereby certify that on October 22, 2019, I caused a true and
correct copy of the foregoing THIRD STIPULATED AMENDED CASE MANAGEMENT
ORDER, to be filed and served electronically via the court’s CM/ECF system. Notice of this filing
will be sent by email to all parties by operation of the court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court’s CM/ECF System.

                                              /s/ Britt M. Miller
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